              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CIVIL CASE No. 3:10cv622
                      [Criminal Case No. 3:08cr233-2]


MIGUEL LORIA,               )
                            )
     Petitioner,            )
                            )
           vs.              )                    ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
     Respondent.            )
___________________________ )


      THIS MATTER is before the Court upon Petitioner’s motion to

dismiss his § 2255 petition. [Doc. 4]. No response is necessary from the

Government.

      For cause shown, the Petitioner’s motion to dismiss his § 2255

petition will be allowed. Having reviewed the petition, as well as the record

of the underlying criminal proceedings, the Court concludes that the

petition was not timely filed. The Court further finds that the Petitioner has

not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38, 123 S.Ct.

1029, 154 L.Ed.2d 931 (2003) (in order to satisfy § 2253(c), a petitioner




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must demonstrate that reasonable jurists would find the district court's

assessment of the constitutional claims debatable or wrong) (citations

omitted). Accordingly, the petition will be dismissed with prejudice.

Further, the Court declines to issue a certificate of appealability. Rule

11(a), Rules Governing Section 2255 Proceedings for the United States

District Courts.

      IT IS, THEREFORE, ORDERED that the Petitioner’s motion to

dismiss his § 2255 petition [Doc. 4] is ALLOWED, and Petitioner’s Motion

under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence [Doc. 1]

is hereby DISMISSED WITH PREJUDICE.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, this Court declines to issue a certificate of

appealability.

      IT IS SO ORDERED.

                                       Signed: May 10, 2011




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